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                    EXHIBIT 16
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       Frvm:           Glen tem er
       To:             ~
       Subject:        Re: private
       Date:           Friday, March 16, 2012 6:17:53 l't-l
      ··~--...--~--,.,-----·


       You around to talk tomorrow

       Sent from my iPhone

      On Mar 16, 2012, at 3:55PM, Lionel <lbs31aw@hotmajl.com> wrote:

              No conflict. She will be working for the special master.

              Lionel Sutton, III
              504-957-4689
             On Mar 16, 2012, at 5:51 PM, Glen Lerner < glenleroeresq@aol.com>
             wrote:


                   no. Is there a conflict with my cases (Andry Lerner) going in
                   front of her with our business relationship? Will she get my
                   Florida cases too?
                   On Mar 16, 2012, at 2:06 PM, Lionel wrote:


                          Not sure. Bill never responded to my answer about
                          phenol. U hear anything ?

                          Lionel Sutton, III
                          504-957-4689
                          On Mar 16, 2012, at 3:20PM, Glen Lerner
                          <gleoleroeresq@aol.com> wrote:


                                     How can we use that to our benefit
                                     Sent from my !Phone

                                     On Mar 16, 2012, at 12:36 PM, Sutton
                                     lionel <lhs31aw@botmail.cQJD> wrote:



                                            Just bet.-veen you and me
                                            because they have not made
                                            the announcement yet.

                                            Christine has been hired by
                                            the special master to run his
                                            office for the BP settlement.


                                                                                   GJL 001335




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